                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

FLORIDA DECIDES HEALTHCARE,
INC., et al.,

      Plaintiffs/Intervenor-Plaintiffs,
v.                                            Case No.: 4:25cv211-MW/MAF

CORD BYRD, et al.,

     Defendants.
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       ORDER REGARDING PROCEDURE FOR MAY 22 HEARING

      To avoid any confusion and unnecessary delays, this Court provides the

following clarification ahead of the hearing on May 22, 2025. At the hearing on May

22, 2025, this Court is addressing only the claims raised and relief requested in the

motion for preliminary injunction, ECF No. 92—the only pending motion before

this Court. To the extent any party joins in the pending motion or any response

thereto, this Court will only consider those arguments pertaining to the provisions at

issue in the pending motion. This Court will consider declarations filed in support

of the motion or in opposition to the motion ahead of the hearing, in addition to live

testimony in the event the parties wish to present witnesses at the hearing. The

evidence will be closed prior to any argument at the hearing. The parties should plan

to provide this Court with any and all evidence they believe this Court should

consider in ruling on the pending motion before this Court entertains argument on
May 22, 2025. In the event any party plans to present live witnesses at the hearing,

they must notify this Court’s Deputy Clerk, Ms. Milton McGee, before 5:00 p.m.

(ET) on Tuesday, May 20, 2025.

      SO ORDERED on May 15, 2025.
                                      s/Mark E. Walker                   ____
                                      Chief United States District Judge




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